Case 0:21-cv-62045-AHS Document 14 Entered on FLSD Docket 12/20/2021 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 21-62045-CIV-SINGHAL


  STEPHANIE CRESPO,

         Plaintiff,

  v.

  MANDARICH LAW GROUP, LLP,

       Defendant.
  _________________________________________/

                         ORDER GRANTING TEMPORARY STAY
                        AND ADMINISTRATIVELY CLOSING CASE

         THIS CAUSE is before the Court on the Unopposed Motion to Stay Pending En

  Banc Review by the Eleventh Circuit in Hunstein v. Preferred Collection & Management

  Services, Inc. with Incorporated Memorandum of Law (DE [13]). In the instant motion,

  the parties request a stay of this matter pending a final decision by the United States

  Court of Appeals for the Eleventh Circuit in Hunstein v. Preferred Collection &

  Management Services, Inc., No. 19-14434-HH (11th Cir. 2019). The Court has “broad

  discretion to stay proceedings as an incident to its power to control its own docket.”

  Clinton v. Jones, 520 U.S. 681, 706 (1997). A stay, however, must be properly limited

  and must not be “immoderate.” Ortega Trujillo v. Conover & Co. Commc’ns, 221 F.3d

  1262, 1264 (11th Cir. 2000). The Court finds that the requested stay is reasonable in

  scope and helpful for the control of its docket. Accordingly, it is hereby
Case 0:21-cv-62045-AHS Document 14 Entered on FLSD Docket 12/20/2021 Page 2 of 2




        ORDERED AND ADJUDGED as follows:

        1. The Unopposed Motion to Stay Pending En Banc Review by the Eleventh

           Circuit in Hunstein v. Preferred Collection & Management Services, Inc. with

           Incorporated Memorandum of Law (DE [13]) is GRANTED.

        2. Furthermore, the Parties shall file a Joint Schedule Report pursuant to Local

           Rule 16.1 within thirty (30) days of the Eleventh Circuit’s decision.

        3. The Clerk of Court is directed to ADMINISTRATIVELY CLOSE this case, either

           party may request the Court to reopen the case.

        4. To the extent not otherwise disposed of, any scheduled hearings are

           CANCELED, all pending motions are DENIED WITHOUT PREJUDICE, and all

           deadlines are TERMINATED.

        DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 20th day of

  December 2021.




  Copies furnished to counsel of record via CM/ECF




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